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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


RESIDENTIAL FUNDING COMPANY,                            Court File No. 13-cv-3451(SRN/JSM)
LLC,

                               Plaintiff,
                                                            PLAINTIFF’S FIRST
v.                                                         AMENDED COMPLAINT

ACADEMY MORTGAGE CORPORATION,

                               Defendant.


            Plaintiff Residential Funding Company, LLC f/k/a Residential Funding

Corporation (“RFC” or “Plaintiff”), by and through its attorneys, alleges for its First

Amended Complaint against defendant Academy Mortgage Corporation. (“Academy

Mortgage” or “Defendant”), as follows:

                                    NATURE OF ACTION

            1.   This case arises in substantial part from the billions of dollars in liabilities

and losses incurred by Plaintiff RFC in and pursuant to its chapter 11 bankruptcy case in

the United States Bankruptcy Court for the Southern District of New York (Case No. 12-

12020 (MG)). Those liabilities and losses, in turn, arose from defective residential

mortgage loans sold to RFC by mortgage loan sellers, including Defendant Academy

Mortgage, who are legally and contractually responsible for the liabilities and losses

caused by the poor quality of the mortgage loans in question.

            2.   Plaintiff RFC was, at times prior to its bankruptcy in May 2012, in the

business of acquiring and securitizing residential mortgage loans.


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            3.   RFC’s business model was built on acquiring loans from “correspondent

lenders,” such as Defendant Academy Mortgage, and distributing those loans by either

pooling them together with other similar mortgage loans to sell into residential mortgage-

backed securitization (“RMBS”) trusts, or selling them to whole loan purchasers.

            4.   Over the course of the parties’ relationship, Academy Mortgage sold over

600 mortgage loans, with an original principal balance in excess of $77 million, to RFC.

            5.   Critical to RFC’s business success was the quality of the loans it purchased.

To that end, RFC required its correspondent lenders, including Academy Mortgage, to

abide by stringent loan-level contractual representations and warranties designed to

protect RFC from the risks of borrower fraud, appraisal fraud, failure to comply with

state and federal law, and other credit and compliance factors that could negatively

impact the performance and value of the loans it purchased.

            6.   Over the course of RFC’s business relationship with Defendant Academy

Mortgage, RFC identified loans that contained material defects violating one or more of

Academy Mortgage’s contractual representations and warranties, and Academy Mortgage

in some cases acknowledged those material defects by repurchasing the loans or

otherwise compensating RFC for the defects.             To the extent Academy Mortgage

repurchased certain individual loans from RFC, RFC is not seeking to again recover the

repurchase price as to those loans. However, many defective loans sold to RFC by

Academy Mortgage remain unresolved. Moreover, Academy Mortgage’s repurchase of

certain loans did not compensate RFC for all the liabilities and losses that RFC incurred

due to Academy Mortgage’s sale of defective loans to RFC. The parties’ Agreement


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entitles RFC to recovery of the additional liabilities and losses it incurred due to

Academy Mortgage’s breaches

            7.    Ultimately, due in significant part to the failure of correspondent lenders,

including Academy Mortgage, to honor their contractual representations and warranties,

RFC was sued by numerous counterparties and investors in its RMBS, based on

allegations that the loans contained numerous defects and were rife with fraud and

compliance problems.

            8.    By the time RFC and certain of its affiliates (collectively, the “Debtors”)

filed for bankruptcy in May 2012, RFC was facing over two dozen lawsuits around the

country, all alleging that the loans RFC had securitized were defective, as well as claims

by investors in hundreds of its RMBS seeking tens of billions of dollars in damages based

on loan-level problems.

            9.    During the bankruptcy proceeding, hundreds of proofs of claim were filed

by dozens of claimants, including investors alleging securities fraud claims, class action

plaintiffs, monoline insurers, RMBS holders and indenture trustees acting at their

direction claiming breaches of representations and warranties, whole loan investors, and

non-debtor co-defendants (such as underwriters of the RMBS offerings). Collectively,

these claims alleged tens of billions of dollars of damages stemming from defective

loans, including those sold to RFC by Academy Mortgage.

            10.   Following a lengthy and intensive mediation presided over by sitting

bankruptcy judge James M. Peck, and related proceedings, RFC was able to resolve its

RMBS-related liabilities for over $10 billion of allowed claims in its bankruptcy case.


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This agreed resolution of RFC’s RMBS-related liabilities was set forth in a global

settlement, which formed the cornerstone of a liquidating chapter 11 plan for RFC and its

affiliated Debtors.      On December 11, 2013, after a five-day confirmation trial, the

Bankruptcy Court approved the global settlement, finding it to be fair and reasonable and

in the best interests of each of the Debtors, and confirmed the chapter 11 plan.

            11.   Defendant Academy Mortgage is contractually obligated to indemnify RFC

for all liabilities and losses incurred by RFC as a result of breaches of Defendant’s

representations and warranties.

            12.   Accordingly, RFC brings this action for breach of contract, and for

indemnification of all liabilities and losses RFC has incurred due to Defendant’s breaches

of its representations and warranties.

                                          PARTIES

            13.   Plaintiff RFC is a Delaware limited liability company with its principal

place of business in Minneapolis, Minnesota. RFC was formerly known as Residential

Funding Corporation.        When this case was commenced, RFC was a wholly owned

subsidiary of GMAC-RFC Holding Company, LLC, a Delaware limited liability

company. GMAC-RFC Holding Company, LLC was a wholly owned subsidiary of

Residential Capital, LLC, a Delaware limited liability company. Residential Capital,

LLC was a wholly owned subsidiary of GMAC Mortgage Group LLC, a Delaware

limited liability company, which in turn was a wholly owned subsidiary of Ally

Financial, Inc., a Delaware corporation with its principal place of business in Michigan.

Pursuant to the Second Amended Joint Chapter 11 Plan Proposed by Residential Capital,


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LLC, et. al. and the Official Committee of Unsecured Creditors, Case No. 12-12020

(MG) (Bankr. S.D.N.Y.) [D.I. 6065-1] (the “Plan”), on December 17, 2013, GMAC-RFC

Holding Company, LLC’s interest in RFC was cancelled and the ResCap Liquidating

Trust (the “Trust”) succeeded to all of RFC’s rights and interests under RFC’s Agreement

with Academy Mortgage, and now controls RFC. 1

            14.   Defendant Academy Mortgage Corporation is a Utah corporation with its

principal place of business at 1220 East 7800 South, Sandy, UT 84094.

                                 JURISDICTION AND VENUE

            15.   This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334, in

that the matter arises under title 11 or arises in or is related to the Debtors’ bankruptcy

proceedings. This Court also has jurisdiction over this matter pursuant to 28 U.S.C. §

1332, in that the parties are citizens of different states and the amount in controversy

exceeds $75,000.

            16.   As set forth in Plaintiff RFC’s pending motion to transfer, venue is most

appropriate in the United States Bankruptcy Court for the Southern District of New York,

because these claims relate to the bankruptcy of Plaintiff RFC and certain of its affiliates

already pending in that court as Case No. 12-12020 (MG). Should RFC’s motion to

transfer be denied, however, venue is also proper in this Court pursuant to 28 U.S.C. §

1391(b)(2) because, among other things, the parties have contractually agreed that

Minnesota is an appropriate venue.



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            The Trust is organized pursuant to the Delaware Statutory Trust Act.


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                                 FACTUAL BACKGROUND

The Agreement Between RFC and Academy Mortgage

            17.   Over the course of the parties’ relationship, Academy Mortgage sold over

600 mortgage loans to RFC pursuant to the Seller Contract attached as Exhibit A (the

“Contract”).

            18.   The Contract incorporates into its terms and conditions the RFC Client

Guide, exemplary excerpts of which are attached as Exhibit B-1 through B-15 (the

“Client Guide”). (The complete versions of the Client Guide are known to the parties and

too voluminous to attach in their entirety; the omitted portions of the Client Guides do

not affect the obligations set forth in this Amended Complaint.) The Contract and Client

Guide collectively form the parties’ Agreement, and set the standards to which Academy

Mortgage’s loans sold to RFC were expected to adhere.

            19.   A preliminary list of the loans sold by Academy Mortgage to RFC pursuant

to the Agreement, and subsequently securitized by RFC, is attached hereto as Exhibit C.

The original principal balance of these loans exceeds $77 million.

            20.   As a correspondent lender, Academy Mortgage had the initial responsibility

for collecting information from the borrower, verifying its accuracy, and underwriting the

loan. Academy Mortgage had primary responsibility for all aspects of the underwriting

of the loan, and it was understood between the parties that RFC would generally not be

re-underwriting the loan. It was Academy Mortgage, or others from whom Academy

Mortgage purchased mortgages, that actually closed the loans with the borrowers.




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            21.   As Academy Mortgage was well aware, once the loans were sold to RFC,

RFC pooled groups of loans with similar characteristics, and the pool of loans would be

sold into a special-purpose securitization Trust. The pool of loans formed the collateral

underlying the Trust’s mortgage-backed securities, which were in turn sold to investors.

            22.   As Academy Mortgage was also well aware, RFC from time to time sold

pools of loans to whole loan investors.

            23.   Academy Mortgage knew of RFC’s intention to securitize and/or sell the

loans. Specifically, Defendant Academy Mortgage acknowledged, in the Client Guide,

that it “recognize[d] that it is [RFC’s] intent to securitize some or all of the Loans sold to

[RFC],” and agreed to provide RFC with “all such information … as may be reasonably

requested by [RFC] for inclusion in a prospectus or private placement memorandum

published in connection with such securitization,” including all information necessary to

comply with the disclosures required by Regulation AB (governing asset-backed

securities) and other applicable federal securities laws. (See Client Guide at A202(II);

206(D).)

            24.   Pursuant to the Agreement, Defendant Academy Mortgage made a number

of representations and warranties with respect to the loans, including, but not limited to,

the following:

                  a. Defendant’s “origination and servicing of the Loans have been legal,
                     proper, prudent and customary and have conformed to the highest
                     standards of the residential mortgage origination and servicing
                     business.” (Client Guide A201(K).)

                  b. Defendant “will comply with all provisions of this Client Guide and the
                     Program Documents, and will promptly notify GMAC-RFC of any


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                occurrence, act, or omission regarding [Defendant], the Loan, the
                Mortgaged Property or the Mortgagor of which [Defendant] has
                knowledge, which … may materially affect [Defendant], the Loan, the
                Mortgaged Property or the Mortgagor.” (Client Guide A201(M).)

             c. “All information relating to each Loan delivered and sold to GMAC-
                RFC is true, complete and accurate and there are no omissions of
                material facts. All data provided by the Client to GMAC-RFC relating
                to any Loan, whether in electronic format, or otherwise, is true and
                complete and accurately reflects the information in the related Loan
                file.” (Client Guide A202(A).)

             d. “All Loan Documents, Funding Documents and Final Documents are
                genuine, have been completed, duly and properly executed, are in
                recordable form and delivered in the form and manner specified in this
                Client Guide,” and “[a]ll originals and copies of such documents and all
                other documents, materials, and other information required to be
                submitted to GMAC-RFC have been so submitted, and are complete
                and accurate.” (Client Guide A202(D).)

             e. “All Loan Documents, Funding Documents and Final Documents and
                all other documents describing or otherwise relating thereto are in
                compliance with all local and State laws, regulations and orders.”
                (Client Guide A202(D).)

             f. “There is no default, breach, violation or event of acceleration existing
                under any Note or Security Instrument transferred to GMAC-RFC, and
                no event exists which, with notice and the expiration of any grace or
                cure period, would constitute a default, breach, violation or event of
                acceleration, and no such default, breach, violation or event of
                acceleration has been waived by [Defendant] or any other entity
                involved in originating or servicing the Loan.” (Client Guide A202(G).)

             g. “[E]ach Loan has been originated, closed, and transferred in compliance
                with all applicable local, State and federal laws and regulations,
                including, but not limited to, the Real Estate Settlement Procedures Act,
                the Fair Credit Reporting Act, the Equal Credit Opportunity Act, the
                Truth-in-Lending Act, the Fair Housing Act, and the National Flood
                Insurance Act. This warranty is made by [Defendant] with respect to
                each GMAC-RFC Loan Application taken and processed for each Loan
                and with respect to each Loan made by the [Defendant] or any other
                entity.” (Client Guide A202(I).)




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                  h. “No Loan is a … loan considered a ‘high-cost,’ covered, ‘high-risk,’
                     ‘predatory’ or any other similar designation under any State or local law
                     in effect at the time of the closing of the loan if the law imposes greater
                     restrictions or additional legal liability for residential mortgage loans
                     with high interest rates, points and/or fees.”               (Client Guide
                     A202(J)(1)(d).)

                  i. “[N]o circumstances exist involving the Loan Documents, the
                     Mortgaged Premises or the Borrower’s credit standing that could: (i)
                     cause private institutional investors to regard the Loan as an
                     unacceptable investment, (ii) cause the Loan to become delinquent, or
                     (iii) adversely affect the Value or marketability of the Mortgaged
                     Premises or the Loan.” (Client Guide A202(Q).)

                  j. “The Loan is of investment quality, has been prudently originated and
                     has been underwritten in compliance with all requirements of this Client
                     Guide.” (Client Guide A202(T).)

                  k. “For each Loan for which an appraisal is required or obtained under this
                     Client Guide, the appraisal was made by an appraiser who meets the
                     minimum qualifications for appraisers as specified in this Client Guide.”
                     (Client Guide A202(T).)

                  l. “For each Loan, as of the Funding Date, the market Value of the
                     Mortgaged Premises is at least equal to the appraised value stated on the
                     Loan appraisal, or if an Automated Valuation Model (AVM) is
                     permitted, the Value on the AVM, except to the extent that the market
                     Value of the Mortgaged Premises is lower … due to the effect of any
                     toxic materials or other environmental hazards of which neither the
                     appraiser nor the [Defendant] has actual knowledge of reasonable
                     grounds to suspect.” (Client Guide A202(T).)

                  m. “No fraud or misrepresentation by the Borrower or by the [Defendant],
                     broker, correspondent, appraiser or any independent contractor retained
                     by the [Defendant], broker, correspondent, appraiser or any employee of
                     any of the foregoing occurred with respect to or in connection with the
                     origination or underwriting of any Loan and all information and
                     documents provided to GMAC-RFC in connection with the Loan are
                     complete and accurate.” (Client Guide A202(KK).)

            25.   These representations and warranties were material terms in RFC’s

agreement to acquire the mortgage loans from Academy Mortgage.                        Academy



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Mortgage’s contractual warranty of the quality of the loans was important because RFC

in turn sold these loans to RMBS trusts and whole loan purchasers, making its own

representations and warranties to the trusts and investors. If any of Academy Mortgage’s

representations and warranties turned out to be false, RFC could have exposure to these

third parties, and thus RFC required contractual protection from Academy Mortgage

under which RFC would have recourse for its liabilities and losses on account of

defective loans.

            26.   Pursuant to the Client Guide, Academy Mortgage’s failure to comply with

its representations and warranties or any of the other requirements, terms or conditions of

the Client Guide constitutes an “Event of Default,” as does its failure to provide RFC

with true, accurate and complete information in a timely manner. (See Client Guide

A208.)

            27.   Similarly, it is an “Event of Default” if a “[b]orrower or any other person or

entity involved in the loan transaction or its underwriting or documentation (including

any appraiser, broker, third-party originator, credit reporting agency, or other provider of

underwriting information) has made any false representation and/or has failed to provide

information that is true, complete and accurate in connection with” the loan transaction,

regardless of whether Academy Mortgage knew of the misrepresentation or incorrect

information. (See Client Guide A208.)

            28.   Academy Mortgage expressly agreed that RFC was permitted to exercise

any remedy “allowed by law or in equity” in connection with such Events of Default.

(See Client Guide A209.) Moreover, the Client Guide specified that RFC’s exercise of


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one or more remedies in connection with a particular Event of Default “will not prevent it

from exercising … [o]ne or more other remedies in connection with the same Event of

Default,” or “[a]ny other rights which it may have at law or in equity.” (Id.) RFC’s

remedies expressly survived the sale of the loans and the termination of the ongoing

business relationship between RFC and Academy Mortgage. (Id. at A209(C).)

            29.   The Client Guide further specified the remedies available to RFC in case of

an Event of Default, including a breach of any loan-level representation or warranty. The

available remedies included, but were expressly not limited to, repurchase of the

defective loan, substitution of another loan for the defective one, or indemnification

against liabilities resulting from such breaches. (See Client Guide A210.) The Client

Guide expressly stated that RFC was “not required to demand repurchase within any

particular period of time, and may elect not to require immediate repurchase.” (Id.)

Further indemnification remedies are set forth in Sections A202 and A212 of the Client

Guide. Section A209 of the Client Guide, in turn, makes clear that all of these remedies

are non-exclusive and cumulative.

            30.   Moreover, RFC alone retained the sole discretion to declare an Event of

Default, and to choose what remedy or remedies to pursue. Nothing in the Agreement

required RFC to provide Academy Mortgage with notice and an opportunity to cure the

defects, to make a repurchase demand, or in any way restricted RFC from pursuing

recovery for materially defective loans at any time. In fact, the United States Court of

Appeals for the Eighth Circuit recently confirmed that, under the Client Guide, RFC has

the sole discretion to declare an Event of Default, and correspondent lenders such as


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Academy Mortgage have contractually bargained away any right to challenge RFC’s

determination regarding such an Event of Default. See Residential Funding Co., LLC v.

Terrace Mortg. Co., 725 F.3d 910 (8th Cir. 2013).

            31.   The repurchase provision required Academy Mortgage to compensate RFC

for defective loans according to a formula specified in the Client Guide that is based on

the original principal balance of the loan. If RFC determined that repurchase was not

appropriate, Academy Mortgage would nonetheless contractually be obligated to pay

RFC “all losses, costs and expenses incurred by [RFC] and/or the loan’s servicer as a

result of an Event of Default,” including “all reasonable attorneys’ fees and other costs

and expenses incurred in connection with enforcement efforts undertaken.” (See Client

Guide A210.)

            32.   Under the terms of the Agreement, Academy Mortgage is obligated to

repurchase loans and/or pay RFC the repurchase price even if the loan has already been

foreclosed upon. (See Client Guide A210(B).)

            33.   Defendant    Academy      Mortgage     also   expressly   agreed    to     broad

indemnification provisions, including the following:

                  [Defendant] shall indemnify GMAC-RFC from all losses, damages,
                  penalties, fines, forfeitures, court costs and reasonable attorneys’
                  fees, judgments, and any other costs, fees and expenses …
                  includ[ing], without limitation, liabilities arising from (i) any act or
                  failure to act, (ii) any breach of warranty, obligation or
                  representation contained in the Client Guide, (iii) any claim,
                  demand, defense or assertion against or involving GMAC-RFC
                  based on or resulting from such breach, (iv) any breach of any
                  representation, warranty or obligation made by GMAC-RFC in
                  reliance upon any warranty, obligation or representation made by
                  [Defendant] contained by the Client Contract and (v) any untrue


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                  statement of a material fact, omission to state a material fact, or false
                  or misleading information provided by the [Defendant] in
                  information required under Regulation AB or any successor
                  regulation.

                  In addition, [Defendant] shall indemnify GMAC-RFC against any
                  and all losses, damages, penalties, fines, forfeitures, judgments, and
                  any other costs, fees and expenses (including court costs and
                  reasonable attorneys’ fees) incurred by GMAC-RFC in connection
                  with any litigation or governmental proceeding that alleges any
                  violation of local, State or federal law by [Defendant], or any of its
                  agents, or any originator or broker in connection with the origination
                  or servicing of a Loan.

(Client Guide A212.) Academy Mortgage further agreed:

                  to indemnify and hold GMAC-RFC harmless from and against any
                  loss, damage, penalty, fine, forfeiture, court cost, reasonable
                  attorneys’ fees, judgment, cost, fee, expense or liability incurred by
                  GMAC-RFC as a result of any material misstatement in or omission
                  from any information provided by [Defendant] to GMAC-RFC; or
                  from any claim, demand, defense or assertion against or involving
                  GMAC-RFC based on or grounded upon, or resulting from such
                  misstatement or omission or a breach of any representation, warranty
                  or obligation made by GMAC-RFC in reliance upon such
                  misstatement or omission.

(Client Guide A202.) The Client Guide also entitles RFC to recover all court costs,

attorneys’ fees and any other costs, fees and expenses incurred by RFC in enforcing the

Agreement or Client Guide.

            34.   Additionally, prior to the commencement of this lawsuit, Academy

Mortgage conceded that certain of its loans sold to RFC were materially defective. In

that regard, Academy Mortgage has already paid RFC to cover those defects. In this

action, RFC is not seeking to recover again on those sums.




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            35.   RFC at all times performed all of its obligations to Academy Mortgage, if

any, under the Agreement, and all conditions precedent to the relief sought in this action,

if any, have been satisfied.

Defendant Materially Breached Numerous Loan-Level Representations and
Warranties.

            36.   As noted above, the loans RFC acquired from Academy Mortgage and

other correspondent lenders were sold, either into RMBS trusts that issued certificates to

outside investors, or in “whole loan” portfolios to other mortgage companies and banks.

            37.   The loans Academy Mortgage sold RFC were eventually deposited in over

160 RMBS Trusts.          When RFC sold the loans, it passed on a more limited set of

representations and warranties to the Trusts, and, as required by SEC regulations,

disclosed pertinent information about the loans to investors in the RMBS. In making

those representations and warranties, RFC relied on information provided to it by

Academy Mortgage and other correspondent lenders. That information in many cases

violated Academy Mortgage’s representations and warranties to RFC.

            38.   Academy Mortgage       materially breached its extensive contractual

representations and warranties by delivering loans that were not originated or

underwritten in accordance with the requirements of the Agreement; did not meet the

representations and warranties made as to those loans; and/or failed to comply with

applicable state and federal law.

            39.   Over time, many of the loans sold to RFC by Academy Mortgage defaulted

or became seriously delinquent. Numerous loans that Academy Mortgage sold RFC and



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RFC securitized eventually sustained losses, collectively totaling over $7 million,

exposing RFC to claims from investors, monoline insurers, and others.

            40.   These delinquency and default rates far exceed what would normally be

expected in a given population of mortgage loans.

            41.   Internal reviews conducted by RFC determined that hundreds of the loans

sold to RFC by Academy Mortgage violated the Client Guide and/or other

representations or warranties made by Academy Mortgage, resulting in an Event of

Default under the Agreement.

            42.   The types of defects varied, but included income misrepresentation,

employment         misrepresentation,   owner        occupancy   misrepresentations,   appraisal

misrepresentations or inaccuracies, undisclosed debt, and missing or inaccurate

documents, among others. Additional material defects are likely contained throughout

the loan population sold to RFC by Academy Mortgage. Indeed, a number of the loans

defaulted very shortly after origination (constituting Early Payment Defaults or EPDs),

which is widely recognized in the industry as often signaling fraud or other problems in

the origination and underwriting of the loans.

            43.   By way of example, the following loans sold to RFC by Academy

Mortgage were identified as having significant and material defects violating the Client

Guide representations and warranties:

                  a. Loan ID # 8969296 (included in securitization 2004-QS1) – The
                     borrower on this $511,500 loan defaulted shortly after origination. In
                     addition, the borrower represented that s/he intended to occupy the
                     property as a primary residence, which was required to qualify the
                     borrower for the terms of the loan in question. In fact, the borrower did


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                 not occupy the property as a primary residence, and review by RFC’s
                 internal quality audit personnel determined this was a material
                 misrepresentation. The loan therefore contained material breaches
                 rendering the loan unacceptable under RFC’s standards, including
                 breaches of the representations and warranties identified in paragraphs
                 24(a), (b), (c), (i), (j), and (m) and 27 above. Academy Mortgage
                 acknowledged these defects by repurchasing the loan; however, as
                 discussed below, RFC continued to sustain losses relating to this and
                 other defective loans included in securitizations.

              b. Loan ID # 8380328 – The borrower on this $649,000 loan defaulted
                 shortly after origination, which can be a sign of fraud or other problems
                 in the origination and underwriting of the loan. In fact, the borrower in
                 this case misrepresented his/her employment or income, and RFC’s
                 internal quality review personnel determined that the loan was
                 unacceptable under RFC standards. Ultimately, the borrower paid the
                 loan off, but the loan nonetheless materially breached representations
                 and warranties made by Academy Mortgage, including those identified
                 in paragraphs 24(a), (b), (c), (i), (j), and (m) and 27 above.

              c. Loan ID # 10873847 (included in securitization 2006-QA9) – The
                 borrower on this $417,000 loan defaulted shortly after origination,
                 which can be a sign of fraud or other problems in the origination and
                 underwriting of the loan.        In fact, the borrower in this case
                 misrepresented his/her employment or income, and RFC’s internal
                 quality review personnel determined that the loan materially breached
                 representations and warranties made by Academy Mortgage. Academy
                 Mortgage’s breaches with respect to this loan included breaches of those
                 provisions identified in paragraphs 24(a), (b), (c), (i), (j), and (m) and 27
                 above. The loan was therefore deemed unacceptable under RFC
                 standards. Academy Mortgage never repurchased this loan.

              d. Loan ID # 10514093 (included in securitization 2006-HSA4) – The
                 subject property for this $25,000 second lien loan was a manufactured
                 home, which is an ineligible property type under the relevant program.
                 RFC’s internal quality review personnel determined that the loan
                 materially breached representations and warranties made by Academy
                 Mortgage. Academy Mortgage’s breaches with respect to this loan
                 included breaches of those provisions identified in paragraphs 24(a), (b),
                 (c), (i) and (j) above. Due to these breaches, the loan was deemed
                 unacceptable under RFC standards.           Academy Mortgage never
                 repurchased this loan.




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                  e. Loan ID # 11082485 – The borrower on this loan misrepresented his/her
                     income. The borrower represented that s/he was employed by City of
                     Phoenix and Company A, but Company A had no record of such
                     employment. In addition, the borrower represented income far in excess
                     of actual, verified income, which resulted in an excessive debt-to-
                     income ratio of 57%. RFC’s internal quality review personnel
                     determined that the loan materially breached representations and
                     warranties made by Academy Mortgage and was therefore deemed
                     unacceptable under RFC standards. Academy Mortgage’s breaches
                     with respect to this loan included breaches of those provisions identified
                     in paragraphs 24(a), (b), (c), (i), (j), and (m) and 27 above. Academy
                     Mortgage never repurchased this loan.

            44.   The above examples are not intended to be an exhaustive list of the loans

sold by Academy Mortgage to RFC that contained material breaches of representations

and warranties. Rather, these loans represent a sampling of the material defects found in

the loans Academy Mortgage sold to RFC. Many more of the loans sold to RFC by

Academy Mortgage contained material defects that violated the representations and

warranties Academy Mortgage made in the Agreement. While Academy Mortgage has,

over the parties’ course of dealing, repurchased some individual loans (thereby

acknowledging it sold defective loans to RFC), it has in no way fully compensated RFC

for the breaches of representations and warranties, liabilities, or losses stemming from the

universe of defective loans Academy Mortgage sold to RFC over time.

            45.   As detailed below, these defects constituted material breaches of

Defendant’s representations and warranties, contributing to RFC’s exposure to billions of

dollars in liability and tens of millions of dollars in legal expenses.




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RFC’s Liabilities and Losses Stemming from Defendant’s Breaches.

            46.   As a direct result of Defendant Academy Mortgage’s breaches, RFC has

incurred obligations, liabilities, damages, and losses for which it is entitled to recovery

from Academy Mortgage.

            47.   First, RFC has incurred billions of dollars in liabilities and losses stemming

from defective loans, including those sold to RFC by Academy Mortgage.

            48.   In addition, RFC has expended tens of millions of dollars litigating the

quality of the loans sold to it by Academy Mortgage and others in extensive federal and

state court litigation in which plaintiffs claimed the loans were rife with borrower or

originator fraud, or failed to comply with applicable state and/or federal law.

            49.   Beginning in 2008 and continuing until RFC filed for bankruptcy protection

on May 14, 2012, RFC faced a growing number of claims and dozens of lawsuits

stemming from the defective loans sold to it by Academy Mortgage and others.

            50.   The first of these lawsuits was filed by bond insurer MBIA in October

2008. The MBIA lawsuit covered five RFC second-lien securitizations that included

thousands of mortgage loans. For the first time, RFC learned that MBIA’s analysis had

concluded that over 80% of the loans in the pools it insured were defective.

            51.   The MBIA lawsuit specifically attacked RFC’s RMBS offerings 2006-

HSA4, 2006-HSA5, and 2007-HSA1, HSA2 and HSA3, most of which (as shown in

Exhibit C) contained Academy Mortgage loans.

            52.   Indeed, as part of the MBIA litigation, MBIA hired an expert to review

again a sampling of loans across the five securitizations involved in the MBIA v.


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Residential Funding Company, LLC case. Even in a relatively small sample of loans

reviewed, MBIA’s expert identified a loan originated by Academy Mortgage that

materially breached the weaker representations that RFC had provided to MBIA. In this

loan (Loan ID # 8328780 included in securitization 2006-HSA4), 5 different breaches

were identified, including missing documents, inadequate income verification violating

Client Guide requirements, missing housing history, a defective mortgage, and a missing

permanent resident alien card.

            53.   The MBIA lawsuit was followed shortly by a class action suit filed by the

New Jersey Carpenters pension funds.

            54.   The New Jersey Carpenters’ lawsuit purported to cover 59 mortgage-

backed securities offerings issued through RFC’s RALI shelf in 2006 and 2007, which

consisted of first-lien Alt-A loans. These securitizations were identified by names that

included the letters “QA,” “QH,” “QO,” and “QS.” As shown in Exhibit C, over 150

Academy Mortgage loans were included in the offerings that were the subject of the New

Jersey Carpenters’ lawsuit.

            55.   The New Jersey Carpenters’ complaint alleged that 38% of the mortgage

loans underlying the securitizations were in delinquency, default, foreclosure or

repossession when New Jersey Carpenters filed its class action complaint, and that much

of RFC’s mortgage loan data “was inaccurate due to the inflated appraisal values,

inaccurate LTV ratios, borrower income inflation, and the other facets of defective

underwriting” described throughout the Complaint. (NJ Carpenters First Am. Compl. ¶¶

9, 110 in New Jersey Carpenters et al. v. Residential Capital, LLC et al. Case No. 08-cv-


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08781 (HB) (S.D.N.Y.).) Of course, that data was provided to RFC—and represented

and warranted to be accurate—by Academy Mortgage and other correspondent lenders.

            56.    Similarly, the Federal Housing Finance Authority, as conservator for

Freddie Mac, filed suit against RFC in 2011, seeking to recover losses stemming from

loan defects in numerous RMBS offerings that contained over a dozen Academy

Mortgage loans, including RASC offerings 2005-KS10, 2006-KS3, 2006-KS9, 2007-

KS2, and 2007-KS3, the RAMP 2005-RS9 offering, and the RALI 2006-QO9 offering.

            57.    Numerous other lawsuits followed on through RFC’s bankruptcy filing in

2012, including over fifteen lawsuits brought by private investors in its RMBS securities,

and more than a dozen lawsuits brought by monoline insurers.

            58.    All of these lawsuits alleged that the loans RFC sold into RMBS

securitizations were defective in a variety of ways, including borrower fraud, missing or

inaccurate        documentation,   fraudulent   or   inflated   appraisals,   misrepresentations

concerning owner-occupancy, or failure to comply with applicable state and federal law.

            59.    Collectively, these lawsuits involved more than one hundred RMBS

securitizations, and a combined original principal balance of more than $100 billion.

            60.    Across the dozens of securitizations involved in these lawsuits, Academy

Mortgage was responsible for over 390 of the loans.

            61.    As of May 2012, RFC had already repurchased millions of dollars worth of

defective loans from its RMBS securitizations and from whole loan purchasers, either at

the request of a bond insurer or trustee, or because RFC itself discovered a defect and




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affirmatively took steps to repurchase the loan. As described in more detail above, these

included numerous loans sold to RFC by Academy Mortgage.

            62.   In May 2012, RFC and certain of its affiliates—partly because of the

enormous exposure stemming from the pending mortgage-related lawsuits described

above—filed for Chapter 11 bankruptcy protection in the Bankruptcy Court for the

Southern District of New York.

            63.   In connection with the bankruptcy proceeding, hundreds of proofs of claim

were filed by investors in RMBS, monoline insurers, whole loan purchasers, indenture

trustees, and an array of co-defendants in the above-described loan-related litigation.

These proofs of claim, many of which mirrored the litigation filed prior to the

bankruptcy, sought damages in the tens of billions of dollars, all stemming from allegedly

defective mortgage loans, including those sold to RFC by Academy Mortgage. By way

of example, the following represents a small sampling of the hundreds of proofs of claim

filed on the basis of defective loans:

                  a. The indenture trustees for each of the RFC-sponsored securitizations
                     (Deutsche Bank, Bank of New York, U.S. Bank, HSBC Bank, Law
                     Trust and Wells Fargo, and Wells Fargo) collectively filed more than
                     two dozen proofs of claim at the direction of two substantial groups of
                     institutional investors. The institutional investors collectively asserted
                     that loan-level defects (including in the loans sold to RFC by Academy
                     Mortgage and securitized) were responsible for more than $19.5 billion
                     in repurchase obligations.

                  b. AIG, an investor in over 25 Debtor-sponsored securitizations (a number
                     of which included Academy Mortgage loans), filed five proofs of claim
                     totaling in excess of $2.6 billion, based on the allegation that the loans
                     were defective. The proofs of claim were based in part on analyses of
                     the individual loan-level data for these loans.



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                  c. Allstate, an investor in 25 Debtor-sponsored securitizations (a number
                     of which included Academy Mortgage loans), filed 20 proofs of claim
                     based on the allegation that the loans were defective. The proofs of
                     claim were based in part on analyses of the individual loan-level data
                     for these loans.

                  d. John Hancock, an investor in over 50 Debtor-sponsored securitizations
                     (a number of which included Academy Mortgage loans), filed 43 proofs
                     of claim asserting similar allegations.

                  e. MBIA, a monoline insurer that issued financial guaranty insurance on a
                     number of RFC-sponsored securitizations that included Academy
                     Mortgage loans, filed six proofs of claim seeking approximately $2.2
                     billion in damages based on alleged defects contained in the loans, a
                     number of which (as described above) MBIA had individually
                     reviewed.

                  f. FGIC, a monoline insurer that issued financial guaranty insurance on a
                     number of RFC-sponsored securitizations that included Academy
                     Mortgage loans, filed three proofs of claim seeking approximately $1.85
                     billion in damages based on alleged defects contained in the loans, a
                     number of which FGIC had individually reviewed.

            64.   Many whole loan purchasers also filed proofs of claim in the bankruptcy

proceedings, collectively seeking millions of dollars in recovery.

            65.   These proofs of claim, lawsuits, and demands all alleged, among other

things, that the securitized or purchased loans were defective, improperly underwritten,

and breached representations and warranties made by RFC to investors, purchasers, and

other contractual parties. Those representations and warranties were, in most cases,

identical to or less stringent than those that RFC had received from Academy Mortgage,

and on which RFC had relied.

            66.   The Debtors initially proposed to settle portions of their RMBS-related

liabilities for an aggregate $8.7 billion allowed claim in the bankruptcy case.

Subsequently, after protracted litigation over the reasonableness and propriety of that


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settlement, the Bankruptcy Court appointed the Hon. James M. Peck, a United States

Bankruptcy Judge for the Southern District of New York, to serve as a mediator and to

attempt to achieve a negotiated resolution of the Debtors’ RMBS-related liabilities and of

other disputed issues in the chapter 11 cases. A lengthy mediation process ensued,

which, together with related proceedings, resulted in a global settlement that, among

other things, provided for the resolution of all of the Debtors’ RMBS-related liabilities

for more than $10 billion in allowed claims granted to the various RMBS trusts,

monoline insurers, FHFA, securities law claimants, and others.

            67.   The Bankruptcy Court for the Southern District of New York ultimately

approved the global settlement, including the $10 billion-plus settlement of RMBS-

related liabilities, finding it to be fair and reasonable and in the best interests of each of

the Debtors, and confirmed the Plan. (See Case No. 12-12020-mg, Doc. 6066 (Findings

of Fact) (Glenn, J.), at ¶¶ 98 to 176.) RFC filed this suit on December 12, 2013, after

RFC’s RMBS-related liabilities became fixed through confirmation of the Plan. The Plan

became effective on December 17, 2013. Pursuant to the Plan, the Trust succeeded to all

of RFC’s rights and interests, including its litigation claims against Academy Mortgage.

            68.   Pursuant to its express contractual obligations, Academy Mortgage is

obligated to compensate RFC for the portion of global settlement associated with its

breaches of representations and warranties, as well as for the portion of RFC’s other

liabilities and losses (including the tens of millions of dollars that RFC has paid in

attorneys’ fees to defend against, negotiate, and ultimately settle claims relating to

allegedly defective loans) associated with those breaches.


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                                       COUNT ONE
                                  (BREACH OF CONTRACT)

            69.   RFC realleges each and every allegation set forth in Paragraphs 1 through

68, above, as if fully rewritten herein.

            70.   RFC and Defendant Academy Mortgage entered into a valid and

enforceable Agreement pursuant to which RFC acquired over 600 mortgage loans from

Academy Mortgage.

            71.   Pursuant   to   the   parties’    Agreement,   Academy    Mortgage    made

representations and warranties to RFC regarding the quality and characteristics of the

mortgage loans Defendant sold to RFC.

            72.   RFC complied with all conditions precedent, if any, and all of its

obligations under the Agreement.

            73.   Defendant materially breached its representations and warranties to RFC

inasmuch as the mortgage loans materially did not comply with the representations and

warranties.

            74.   Defendant’s material breaches constitute Events of Default under the

Agreement.

            75.   RFC has suffered loss, harm, and financial exposure directly attributable to

Defendant’s material breaches, including liabilities and losses stemming from the

defective loans, as well as attorneys’ fees, litigation-related expenses, and other costs

associated with both defending dozens of lawsuits and proofs of claim filed against RFC




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stemming in part from materially defective loans sold to RFC by Defendant, and fees and

costs incurred in prosecuting this action.

            76.   Accordingly, RFC is entitled to compensation in an amount to be proven at

trial, which exceeds $75,000, together with an award of attorneys’ fees, interest, and

costs.

                                        COUNT TWO
                                    (INDEMNIFICATION)

            77.   RFC realleges each and every allegation set forth in Paragraphs 1 through

76, above, as if fully rewritten herein.

            78.   RFC has incurred substantial liabilities, losses and damages arising from

and relating to material defects in the mortgage loans Academy Mortgage sold to RFC,

including over $10 billion in allowed claims approved by the United States Bankruptcy

Court for the Southern District of New York, as well as tens of millions of dollars in

attorneys’ fees, litigation-related expenses, and other costs associated with defending

dozens of lawsuits and proofs of claim filed against RFC stemming in part from

materially defective loans sold to RFC by Academy Mortgage.

            79.   Defendant expressly agreed to indemnify RFC for the liabilities, losses and

damages, including attorneys’ fees and costs, which RFC has incurred.

            80.   Accordingly, RFC is entitled to indemnification in excess of $75,000 and in

an amount to be proven at trial, and an award of attorneys’ fees, interest, and costs.




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            WHEREFORE, RFC demands judgment in its favor and against Defendant as

follows:

            (A)   On Count One (Breach of Contract), contractual repurchase compensation

and/or damages in excess of $75,000 and in an amount to be proven at trial, and an award

of attorneys’ fees, interest, and costs; and

            (B)   On Count Two (Indemnification), a declaratory judgment that Defendant is

responsible to indemnify RFC against liabilities, losses, expenses and/or other damages

paid or to be paid in settlements or otherwise stemming from Defendant’s conduct, an

order for damages sufficient to reimburse RFC’s liabilities, losses, costs and expenses

caused by Defendant’s actions in excess of $75,000 and in an amount to be proven at

trial, and an award of attorneys’ fees, interest, and costs; and

            (C)   All such further relief, as the Court deems necessary or proper.

Dated: March 28, 2014
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